
46 So.3d 1133 (2010)
Juan V. SIMMONS, Petitioner,
v.
STATE of Florida, Respondent.
No. 1D10-1903.
District Court of Appeal of Florida, First District.
October 29, 2010.
Juan V. Simmons, pro se, Petitioner.
Bill McCollum, Attorney General, and Edward C. Hill, Jr., Assistant Attorney General, Tallahassee, for Respondent.
*1134 PER CURIAM.
DENIED. State v. Lazarre, 906 So.2d 314 (Fla. 4th DCA 2005); see also McKinney v. Yawn, 625 So.2d 885 (Fla. 1st DCA 1993).
BENTON, PADOVANO, and CLARK, JJ., concur.
